IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION
CASE NO: 3:15-cv-176

 

Antonio Stukes,
Plaintiff,

DEBRA ANTNEY, individually and as
Owner/Member/Manager/CEO of Mizay
Entertainment Inc.; Mizay Music Group LLC;
Be100 America, LLC; Be100 Radio LLC;
Daganda Entertainment LLC; Mizay Publishing
LLC; and Mizay Management LLC,

Mizay Entertainment, Inc.,

Milay M“Si€ Gl‘Ollp LLC, _Ilaintii'i"s First Set of Igtcrrogatories and
Request for Productigl_\ of Documents

In Aid of Execl_ltion To Defendant
Be100 America, LLC, Debra Antney, Individually

Be100 Radio LLC,

Daganda Entertainment LLC,

Mizay Publishing LLC,

and

Mizay Management LLC,
Defendants.

 

 

NOW COMES the Plaintiff Antonio Stukes, through the undersigned attorney, pursuant
to Rules 33 and 69 of the Federal Rules of Civil Procedure and propounds the following

Interrogatories to Defendant, Debra Antney, individually, to be answered fully, in Writing, and

§ PLAINT|FF’S

§..o_“§"

under oath, pursuant to said Rule. Copies of such answers are to be served upon the undersigned
attorneys within thirty (30) days after service of these Interrogatories. These are deemed to be
continuing Interrogatories and the Defendant shall promptly supply, by way of supplemental or
additional answers, any additional responsive information that becomes known prior to full

satisfaction of the judgment

Definitions and Instructions

l. “Defendant,” “you” and “your” means and refers to Debra Antney,
individually.
2. “Document” refers to any medium by which information is recorded, including

papers of any kind or character, photographs and any method or medium by which information is
utilized, stored, analyzed or generated by computers. The word “document” is used herein in its
broadest sense and includes any original, reproduction or copy of any kind, typed, recorded,
graphic, printed, written or documentary matter, including without limitation correspondence,
memoranda, interoffice communications, notes, diaries, contracts, drawings, plans,
specifications, estimates, vouchers, permits, written ordinances, minutes of meetings, invoices,
billings, checks, reports, studies, telegrams, notes of telephone conversations, and notes of any
and all communications and every other means of recording any tangible thing, any form of
communication or representation, including letters, words, pictures, sounds or symbols or
combinations thereof.

3. To “identify” a natural person means to provide, with respect to such person, his
or her full name and last known business and home address and telephone number, and the name
and last known address and telephone number of his or her last known employer.

4. Whenever any lnterrogatory calls for the identification of a document, film or
recording that was, but is no longer, in your possession, or subject to your control, state what
disposition was made of it, and state the identity of the person, if any, with present custody of
such material.

5. The request for any information “regarding” any subject, “relating to” any
subject, or which “related” or “refers” to any subject shall be deemed to include all information
with deals with, discusses, mentions, concerns, analyzes, relates or refers in any way whatsoever,
either directly or indirectly, to that subject.

6. All answers shall be separately numbered and identified so as to correspond with
these Interrogatories.

INTERROGATORIES

l. Beginning January l, 2010 and ending as of the date of your response hereto, list
any deposit account, savings, checking, commercial, credit union, money market, brokerage,
retirement, pension, IRA, lien of credit, or other accounts in your name solely or jointly with any
other person or entity or for your benefit during the period up to the date of your response hereto,
with any banks or financial institutions of any sort whatsoever, for each such account state the
names and addresses of the bank/financial institution, the type of account, the names on the
account, the date the account was opened, the account number, the balance of the account as of
October 19, 2015, the current balance, the source of funds used to open and/or fund the account,
and, if applicable, the date the account was closed.

ANSWER:

2. Identify income of any type and all sources of income received during the period
beginning January l, 2010 and ending as of the date of your response hereto. Your response shall
include but is not limited the amount of income or compensation so received, the name and
address of the entity or individual paying the income or compensation, and the nature of the
service rendered by you in exchange for such income or compensation, including but not limited
to:

a. Income received from any business owned by Defendant,
b. Refunds from the IRS or otherwise,
c. Wages from any employment,
d. Payments from any sale of assets or for any services provided,
e. Royalties from any rights on any copyrighted material,
f. Any other sources of income, including those not reported for tax
purposes.
ANSWER:
3. List any and all assets that you own and their value, including but not limited to

real estate, cars, cash, jewelry, computers, office equipment, recording equipment, copiers,
household goods, furnishings, objects of art, firearms, apparel, etc.

ANSWER:

4. List of any other judgment against you, when it was entered, and the amount
owed.

ANSWER:

5. List any and all liens and claims (which are not reduced to a judgment) against
you, Include any and all IRS liens.

ANSWER:

6. Has the Defendant filed federal tax returns at any time between January 1, 2010,
and the present? If so, for each return, please state the following:

a. The identity of the person who prepared the returns;

b. Whether the return was consolidated with the federal tax return of any
person and, if so, the identity of each such person; and,

c. If the return was not consolidated with that of any other person, the
taxable income of the Defendant as shown on each federal return.

ANSWER:

7. State every computer used by you from January 1, 2010 to present, including the
type of computer (laptop or desktop), make and model over computer, description of computer,
location(s) where you used said computer, present location (including address) of the computer,
owner of the computer, and dates of use.

ANSWER:

8. List every email address used by you from January 1, 2010 to present.

ANSWER:

9. List every cell or mobile phone number you have used from January 1, 2010 to
the present, including the dates of use, account holder name, and provider’s name.

ANSWER:

10. If you or any entity (corporation, partnership, limited liability company, etc.) in
which you held an interest, held an ownership interest in any real property as of October 19,
2015, please state for each such parcel of real property the address and description of the
property, the date you acquired your interest, the method by which you acquired your interest,
and the name and address of any person or business other than yourself with an ownership
interest in each such parcel of real property and your opinion of its fair market value as of
October 19, 2015 and as of the date of your response hereto.

ANSWER:

11. If any parcel of real property set forth in response to the foregoing interrogatory
was acquired by purchase or trade, set forth in exact detail the total consideration paid by you for
such property and the source by which you acquired the funds or other consideration to purchase
or trade for such property.

ANSWER:

12. For each parcel of real property described by you in response to interrogatory
above, state the name and address of the mortgage holder of record, the amount of the original
mortgage for the property, and the balance of any unpaid mortgage as of December 21, 2012,
and the amount of annual gross profit received from the property.

ANSWER:

13. If your ownership interest in any real property was transferred to any individual or
other entity for any reason whatsoever during the period beginning January 1, 2010, and ending
as of the date of your response hereto, state the details of each such transfer, including but not
limited to the date and method by which you acquired your interest, the consideration paid by
you or another on your behalf for such acquisition, the reason for the transfer, the terms of the

5

transfer, and the consideration paid to as a result thereof, the identity of the person or entity to
whom you transferred your interest, and the disposition of proceeds resulting from the transfer.

ANSWER:

14. Identify any credit card or debt accounts on which you currently have, or have had
at any time since January 1, 2010, the right to charge goods or services. With respect to each
credit card or debit account, identify the financial institution, the account number, the date you
acquired the account, the balance on October 19, 2015, and the current balance.

ANSWER:

15. Itemize all shares of stock, securities, bonds, mortgages, and other investments,
other than real estate, in which you claim any interest either individually or jointly with others
during the period beginning January l, 2010 and ending as of the date of your response hereto,
including any such interests as were/are held by another for you or on your behalf. Your
response shall include but is not limited to the type and amount of shares, the date and method of
each acquisition, the name(s) in which such shares or interests are registered, the fair market
value as of October 19, 2015 and as of the date of your response hereto, the amount of dividends
or other distributions received by you since October 19, 2015, and the present location and
custodian of all certificates or documentary evidence of such shares or interests, and if any of the
stocks, securities, bonds, mortgages, or other investments were sold or otherwise transferred at
any time during the period beginning January 1, 2010 and ending as of the date of your response
hereto, for each such share or interest, identify the investment, the name of the person to whom
the interest Was sold or transferred, the reason for the transfer, the total consideration received by
you as a result of the transfer, and the disposition of the proceeds.

ANSWER:

16. If you claim an interest in any type of retirement, pension, profit sharing,
restricted stock, stock options, deferred compensation plan, IRA, 401K, 403(b), or any such
similar arrangement, for each such interest state the name or description of the fund or plan, the
name and address of the custodian or administrator, the employer contributing to said fund or
plan, the date and method by which you acquired such interest, the date you are/Were eligible to
receive benefits, the amounts of benefits to be received by you, the balance or vested monetary
value of your interest in the fund or plan on October 19, 2015 and as of the date of your response
hereto. If you claim an interest in any stock options, state the means by which you acquired these
options, the date you acquired them, whether they are ISOs (incentive stock options) or NQSOs

6

(nonqualified stock options), whether they are vested and matured, vested and unmatured or
nonvested.

ANSWER:

17. If you hold any interest in any savings or other such plans which have not
previously been fully disclosed herein, provide full details of each such plan or account,
including the type of plan and its value October 19, 2015 and as of the date of your response
hereto, the names in which the plan or account is held, and the source of funds deposited to
such plan or account.

ANSWER:

18. List each whole-life or interest-sensitive insurance policy, annuity, disability
policy, or other form of insurance in which you held any interest at any time during the period
beginning January 1, 2010 and ending as of the date of your response hereto. Your answer shall
include but is not limited to the policy number, name and address of the insurance company,
name and address of the policy owner, the face amount of the policy and its issue date, the gross
cash surrender value as of October 19, 2015 and as of the date of your response hereto, and the
location and/or custodian of each such policy as of the date of your response hereto.

ANSWER:

19. List all motor vehicles in which you had an interest as of October 19, 2015 and
which were titled in your name, individually or jointly with another, and for each such vehicle
state: person having possession, the description by make, model and year; the date and amount of
the original purchase; the name and address of the title holder as shown on the certificate of title;
the name and address of any lien holder; the amount of lien on October 19, 2015 and as of the
date of your response hereto; your opinion of the fair market value as of October 19, 2015 and as
of the date of your response hereto; and the source of funds used to acquire your interest. Your
response shall include but is not limited to all motorized vehicles including, cars, trucks,
motorcycles, trailers, tractors, and other types of farm equipment, If for any reason whatsoever,
your ownership interest in any vehicle described herein has been sold, transferred, or otherwise
disposed of subsequent to October 19, 2015, state the date of such transaction, the description of
the vehicle, the name and address of the transferee, the consideration received by you as the
result of the transfer, and the disposition of the proceeds.

ANSWER:

20. Are there any safe deposit boxes, vaults, or other places to deposit for safekeeping
in which you held any interest or into which you deposited or had deposited for you any money,
documents, stocks, bonds, or other securities or valuable items of personal property at any time
during the period beginning January 1, 2010 and ending as of the date of your response hereto
and, if so, for each such place of deposit state: the name and address of the depository; the name
or means of identifying the safety deposit box, vault, or other place of deposit for safekeeping;
the contents therein as of October 19, 2015 and as of the date of your response hereto; the owner
of each item so deposited; the fair market value of each item as of October 19, 2015 and as of the
date of your response hereto; the name and address of any person currently in possession of any
stated item which may have been withdrawn from deposit since October 19, 2015.

ANSWER:

21. Did any person or entity hold any property of any sort whatsoever for you or for
your benefit under any arrangement other than a trust at any time during the period beginning
January 1, 2010 and ending as of the date of your response hereto and, if so, state the name and
address of each such person or entity, the description and fair market value of the property so
held, and the condition under which such property was or is held for your benefit.

ANSWER:

22. If any person or entity owed you a debt in excess of $500 at any time during the
period beginning January 1, 2010 and ending as of the date of your response hereto, state the
name and address of each such person or entity, the amount of the original debt and the amount
currently owed, the date the debt was or is due, and the due date and amount of any Scheduled
payments.

ANSWER:

23. Identify each person who prepared or assisted in the preparation of the Answers to
these interrogatories

ANSWER:

REOUIBS'I` FOR PROI)UCTI()N OF DOCUMI£N'I`S

NOW COMES the Plaintiff Antonio Stukes, through the undersigned attorney, pursuant
to Rules 34 and 69 of the Federal Rules of Civil Procedure and propounds the following Requests
for Production to Defendant Debra Antney, Individually, to be answered fully, in writing, and
under oath, pursuant to said Rules. All responses are to be served upon the undersigned
attorneys within thirty (30) days after service of these Requests for Production. These are
deemed to be continuing Requests for Production, and the Defendant shall promptly supply, by
way of supplemental or additional responses, any additional responsive documentation that
becomes known prior to full satisfaction of the judgment.

1. Produce any and all documents and/or things identified in your response to

Interrogatories No. 1-23, consulted in the preparation of your response to said Interrogatories, or
containing information responsive to said Interrogatories 1-23.

RESPONSE:

2. Please produce all documents which you reviewed or referred to in preparing your
Answers to the Interrogatories referenced in the preceding Request for Production.

RESPONSE:

THIs THE 22"” DAY oF OCTOBER, 2015.

SEIFERFLATOW, PLLC

By: S/ MATHEW E. FLATOW
MATHEW E. FLATow

NC State Bar No. 35282

Attorneys for Plaintiff Antonio Stukes
2319 Crescent Avenue

Charlotte, North Carolina 28207
(704) 512-0606

CERTIFICA'I`E OF SERVICE

I hereby certify that on the below listed date, the foregoing Plaintiffs First Set of

Interrogatories and Request for Production of Documents In Aid of Execution T 0 Defendant
Debra Antney, Individually was served upon Defendant Debra Antney by and through her

Counsel of Record as an attachment to an electronic correspondence as follows:

Patrick Michael Megaro, Esq.
Appeals Law Group

pmegaro@appealslawgroup.com
Attorney for Defendant Debra Antney

THis THE 22"” DAY oF OCToBER, 2015.

SEIFERFLATOW, PLLC
By: S/ MATHEW E. FLATOW

10

